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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MAINE


THOMAS FRANCHINI of East Greenwich,         )
Rhode Island                                )
                                            )
               Plaintiff                    )
                                            )
V.                                          )                  CIVIL ACTION NO.
                                            )
BANGOR PUBLISHING CO., INC. d/b/a           )
BANGOR DAILY NEWS, a Maine corporation, )
MEG HASKELL of the State of Maine;          )
BLETHEN MAINE NEWSPAPERS, INC,              )
d/b/a PORTLAND PRESS HERALD, a              )                  VERIFIED COMPLAINT
Washington corporation; EDWARD MURPHY )                        AND JURY TRIAL DEMAND
of the State of Maine; GANNETT COMPANY, )
INC. d/b/a USATODAY, a Delaware corporation;)
DONOVAN SLACK of the District of Columbia; )
INVESTORS BUSINESS DAILY, INC. d/b/a        )
Investors Business Daily and SALLY PIPES of )
the State of California                     )
                                            )
               Defendants                   )



       Plaintiff Thomas Franchini, by and through his undersigned attorneys, hereby files suit

against the above-captioned Defendants, and in support thereof, states as follows.

                                 JURISDICTION AND VENUE

1.     This Court has jurisdiction over this action against Defendants pursuant to 42 U.S.C. §1332

       insofar as there exists a complete diversity of citizenship between the parties hereto and the

       amount in controversy exceeds the jurisdictional sum.

2.     Venue is properly vested in this Court because certain of the acts complained of conduct

       occurred within the jurisdiction of this District (specifically, Cumberland and Penobscot


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     Counties, Maine), certain of the parties-defendant are legally situated within the State of

     Maine, certain of the parties-defendant who are not legally situated within the State of

     Maine conduct regular and significant business within this District and those parties-

     defendant who are neither legally situated within the State of Maine nor conduct regular and

     significant business within this District are subject to the jurisdiction and venue of this Court

     as a party to ancillary and pendent claims.



                                            PARTIES

3.   Plaintiff Thomas Franchini is an individual and a resident of East Greenwich, Rhode

     Island.   At all times relevant, Franchini has been a board-certified podiatrist with

     licensure in Connecticut, Rhode Island, New York and Massachusetts, with expired

     licenses in good standing in the District of Columbia, Vermont and Maine. During times

     relevant, Franchini has been principally resident in Maine.

4.   Defendant Bangor Publishing Company, Inc. d/b/a the Bangor Daily News is a

     corporation organized and existing under the virtue of the laws of the State of Maine,

     with a principal place of business in Bangor, Maine.

5.   Defendant Meg Haskell is an individual and, upon information and belief, a resident of the

     State of Maine.

6.   Defendant Blethen Maine Newspapers, Inc. d/b/a Portland Press-Herald is a corporation

     organized and existing under the virtue of the laws of the State of Washington, with a

     principal place of business in Portland, Maine.

7.   Defendant Edward D. Murphy is an individual and, upon information and belief, a resident

     of the State of Maine.


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8.    Defendant Gannett Company, Inc. d/b/a USAToday is a corporation organized and

      existing under the virtue of the laws of the State of Delaware, with a principal place of

      business in McLean, Virginia.

9.    Defendant Donovan Slack is an individual and, upon information and belief, a resident of

      the District of Columbia.

10.   Defendant Investor’s Business Daily, Inc. d/b/a Investor’s Business Daily is, upon

      information and belief, a corporation organized and existing under and by virtue of the

      laws of the State of California, with a principal place of business in Los Angeles,

      California.

11.   Defendant Sally Pipes is an individual and, upon information and belief, a resident of the

      State of California.



                             FACTS RELEVANT TO ALL COUNTS

12.   At times relevant hereto Franchini was a podiatrist employed by the Department of

      Veterans Affairs, VA Maine Healthcare System, at Togus (Augusta), Maine. Franchini has

      been a podiatrist for more than 27 years. Franchini had conducted or participated in more

      than 5,700 surgical procedures during his career. Franchini has never been disciplined by

      any state or other licensure authority. Franchini has never suffered the loss, revocation or

      termination of any hospital or surgical privileges.

13.   Franchini was an officer in the United States Navy, in active duty between August 1992

      and August 2002 and in reserve duty between August 2002 and August 2008. Franchini

      received an Honorable Discharge respecting his Naval service. During that entire period,

      Franchini served as a surgical podiatrist.


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14.   During Franchini’s aforesaid period of service in the United States Navy, Franchini

      conducted or participated in over 4,800 surgeries, and received multiple accolades and

      commendations, including personal commendations from Senators and a sitting Vice

      President, two Navy Commendation medals and one Navy Achievement medal, without

      any tort claim or claim of sub-standard care or performance against him.

15.   Franchini served as a clinical professor on the medical staff at Fletcher Allen Medical

      Center in Burlington, Vermont between 2002 and 2003.

16.   During Franchini’s aforesaid service with the Fletcher Allen Medical Center, Franchini

      conducted or participated in approximately 100 surgeries without any tort claim or claim

      of sub-standard care or performance against him.

17.   Franchini served on the medical staff of the VA Surgical Hospital, Togus between April

      2004 and November 2010.

18.   During Franchini’s aforesaid service at VA Togus, Franchini conducted or participated in

      approximately 580 surgeries. During the course of such service, Franchini received

      multiple commendations and employment grade promotions for GS-12 to GS-15.

19.   Simultaneous with Franchini’s aforesaid association with VA Togus, Franchini worked at

      Maine Medical Center, Portland, Maine and at Mercy Hospital, Portland, Maine.

20.   During Franchini’s aforesaid service with the Maine Medical Center and Mercy Hospital,

      Franchini conducted or participated in approximately 95 surgeries without any tort claim

      or claim of sub-standard care or performance against him.

21.   In approximately April, 2010, in the course of a review of Franchini’s note-taking and

      preparation of medical records, Franchini was criticized for the brevity of his procedure

      notes. Franchini was asked to cease performing surgeries.


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22.   Franchini resigned from VA Togus effective November 8, 2010.

23.   At the time of such resignation, neither formal disciplinary charge nor investigation, other

      than with regard to the brevity of his file or procedure notes, was pending against

      Franchini.

24.   Between 2010 and 2011, VA Togus raised issues with 25 surgical files representing

      procedures conducted or participated in by Franchini.

25.   All of those procedures were subsequently reviewed by independent podiatrists and

      found to be appropriate.

26.   Subsequent to 2012, VA Togus and/or representatives of that authority has/have accused

      Franchini of numerous cases of substandard performance of procedures.

27.   In fact, such allegations were false and baseless and have never been objectively-

      appropriately validated.

28.   As set forth more fully below, without conducting appropriate inquiry or investigation

      and/or otherwise negligently, the parties-defendant herein, publications and journalists,

      have published, in whole or part, falsehoods arising, inter alia, from the allegations of the

      VA.

29.   Such publication has presented and conveyed a grossly false, unfair and inaccurate

      portrayal of Franchini’s practice, history and qualification, as well as the circumstances

      arising from his tenure at VA Togus.

30.   Franchini has been profoundly damaged by the aforesaid publication(s) including, the

      loss of then-present and future employment and future earnings, in an amount estimated

      to exceed $3.4 million, public shame and disapproval, severe and unrelenting emotional

      distress and otherwise.


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                              COUNT 1
       (AGAINST BANGOR PUBLISHING COMPANY AND MEG HASKELL)
                     (LIBEL AND/OR DEFAMATION)


31.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-30 above, inclusive, with the full force and effect as if set forth fully herein.

32.   On or about October 27, 2017, Defendants Bangor Publishing Company, Inc. d/b/a the

      Bangor Daily News and/or Haskell caused to be published a certain article entitled “Vet

      Harmed at Togus”.

33.   The said article was false and libelous and/or defamatory in the following respects: The

      article stated that Franchini’s separate from VA Togus was forced. The article stated that

      88 vets … suffered under the care of … Franchini”. The article stated that Franchini had

      “botched” certain procedure(s) performed or participated in respecting Jim Barrows, that

      he subsequently “realized” that he had made an error/errors and implied that his care

      provided to Barrows and numerous other patients was negligent.

34.   The said article’s offensive content expressly and implicitly misstated the content of the

      VA Togus reportage and/or a prior USAToday report upon which it was purportedly

      predicated.

35.   The said article’s offensive content was neither truthful nor otherwise privileged.

36.   The libelous/defamatory content described above damaged Franchini’s reputation in a

      manner which would adversely affect his fitness for the proper conduct of his profession

      (podiatry) and, accordingly, constitutes “special harm” under applicable law.




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                              COUNT 2
      (AGAINST BLETHEN MAINE NEWSPAPERS AND EDWARD MURPHY)
                     (LIBEL AND/OR DEFAMATION)


37.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-30 and 32-36 above, inclusive, with the full force and effect as if set forth

      fully herein.

38.   On or about October 1, 2017, Defendants Blethen Maine Newspapers, Inc. d/b/a Portland

      Press-Herald and/or Murphy caused to be published a certain article entitled “Maine

      Veterans Given Substandard Care are Told It’s Too Late to Sue”.

39.   The said article was false and libelous and/or defamatory in the following respects: The

      article stated that Franchini was told to “step down or he’d be fired in early 2010”. The

      article stated that Franchini had performed in a substandard or negligent fashion with

      respect to certain procedure(s) performed or participated in respecting April Wood,

      Kenneth Myrick, Timothy Mansir, and Mark Prescott and others and/or that the VA had

      so determined.

40.   The said article’s offensive content expressly and implicitly misstated the content of the

      VA Togus reportage upon which it was purportedly predicated.

41.   The said article’s offensive content was neither truthful nor otherwise privileged.

42.   The libelous/defamatory content described above damaged Franchini’s reputation in a

      manner which would adversely affect his fitness for the proper conduct of his profession

      (podiatry) and, accordingly, constitutes “special harm” under applicable law.




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                                COUNT 3
             (AGAINST GANNETT COMPANY AND DONOVAN SLACK)
                       (LIBEL AND/OR DEFAMATION)


43.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-30 and 38-42 above, inclusive, with the full force and effect as if set forth

      fully herein.

44.   On or about October 11, 2017, Defendants Gannett and/or Slack caused to be published a

      certain article entitled “VA Conceals Shoddy Care and Health Workers’ Mistakes”.

45.   The said article was false and libelous and/or defamatory in the following respects: The

      article stated that the VA had concluded that Franchini had “made mistakes that harmed

      veterans” in “88 cases”. The article stated that the VA had allowed Franchini to “quietly

      resign and move on to private practice”, thereby implying that some manner of formal

      investigation or knowledge of substandard/negligent care existed with VA Togus at the

      time of Franchini’s departure.    The article stated that Franchini had “retired under

      investigation”, thereby implying that some manner of formal investigation or knowledge

      of substandard/negligent care existed with VA Togus at the time of Franchini’s departure.

      The article stated that the VA had placed Franchini “on leave after finding problems with

      a small sample of his cases in 2010”, thereby implying that some manner of formal

      investigation or knowledge of substandard/negligent care existed with VA Togus at the

      time of Franchini’s departure. The article stated that Franchini had left the VA “under

      investigation”, thereby implying that some manner of formal investigation or knowledge

      of substandard/negligent care existed with VA Togus at the time of Franchini’s departure.

      The article stated that Franchini had acted in a substandard or negligent fashion

      respecting certain procedure(s) performed or participated in and implied that his care

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      provided to patients was negligent.

46.   The said article’s offensive content expressly and implicitly misstated the content of the

      VA Togus reportage upon which it was purportedly predicated.

47.   The said article’s offensive content was neither truthful nor otherwise privileged.

48.   The libelous/defamatory content described above damaged Franchini’s reputation in a

      manner which would adversely affect his fitness for the proper conduct of his profession

      (podiatry) and, accordingly, constitutes “special harm” under applicable law.



                                COUNT 4
           (AGAINST INVESTOR’S BUSINESS DAILY AND SALLY PIPES)
                       (LIBEL AND/OR DEFAMATION)


49.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-30 and 44-48 above, inclusive, with the full force and effect as if set forth

      fully herein.

50.   On or about December 22, 2017, Defendants Investor’s Daily and Pipes caused to be

      published a certain article entitled “VA Negligence is Killing Veterans”.

51.   The said article was false and libelous and/or defamatory in the following respects: The

      article stated that Franchini “botched 88 procedures”, including two specifically

      highlighted - a severed tendon and a failed fusion which led to an amputation. The article

      stated that Franchini was “allowed” to resign and return to private practice, thereby

      implying    that   some     manner    of       formal   investigation   or   knowledge   of

      substandard/negligent care existed with VA Togus at the time of Franchini’s departure.

52.   The said article’s offensive content expressly and implicitly misstated the content of the

      VA Togus reportage upon which it was purportedly predicated.

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53.   The said article’s offensive content was neither truthful nor otherwise privileged.

54.   The libelous/defamatory content described above damaged Franchini’s reputation in a

      manner which would adversely affect his fitness for the proper conduct of his profession

      (podiatry) and, accordingly, constitutes “special harm” under applicable law.



                                   COUNT 5
                 (AGAINST GANNETT COMPANY AND DONOVAN SLACK)
                 (FRAUDULENT OR NEGLIGENT MISREPRESENTATION)

55.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-30 and 43-48 above, inclusive, with the full force and effect as if set forth

      fully herein.

56.   During the course of Gannett/Slack’s investigation and or preparation for the article

      discussed above in Count 3, Gannett/Slack requested that Franchini meet with Slack for

      an interview. The meeting and interviewed occurred at the Intercontinental Hotel in New

      York, New York.

57.   Franchini agreed to the interview subject to the condition, inter alia, that Gannett/Slack

      not identify the location of his then-current employment.

58.   Gannett/Slack represented and committed to Franchini in advance of the interview that

      the location of his then-current employment would not be identified in the resulting

      article.

59.   Same was re-confirmed during the interview itself when Franchini became alarmed that

      Slack had in her possession, during the interview, a copy of his Massachusetts licensure

      application, a document which Franchini believed to be confidential and privileged, and

      with respect to which Slack refused to disclose how she obtained same.


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60.   Franchini relied upon the foregoing representation and commitment in agreeing to the

      interview and in continuing with the interview once it had commenced and he became

      aware of Slack’s possession of his Massachusetts licensure application.

61.   At the time of the aforesaid representation/commitment, Gannett/Slack knew that the said

      representation/commitment       was    false   and    that   the   purpose    of    the   said

      representation/commitment was to fraudulently and wrongfully induce Franchini’s

      detrimental reliance upon same, in order to obtain the desired interview.

62.   Alternatively, Gannett/Slack knew or should have known in the exercise of due care that

      the said representation/commitment was false.

63.   The said representation/commitment was false. In the subject article, Gannett/Slack did

      identify the location of Franchini’s then-current employment.

64.   By virtue of Gannett/Slack’s aforesaid fraudulent or negligent misrepresentation,

      Franchini has been damaged.

65.   Gannett/Slack has acted with malice towards Franchini or, alternatively, the actions of

      Gannett/Slack have been of such an egregious and outrageous character and nature that

      malice can be inferred therefrom or malice is implied therein.

                                COUNT 6
                       (AGAINST ALL DEFENDANTS)
              (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS)


66.   Plaintiff Franchini repeats and realleges each and every allegation contained in

      Paragraphs 3-65 above, inclusive, with the full force and effect as if set forth fully herein.

67.   By virtue of the foregoing, Defendants have breached their duty to Franchini to exercise

      due care respecting and to fully investigate and to publish accurate facts regarding him

      and to not libel and/or defame him.

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68.   Defendants’ breaches of their duty of due care to Franchini, as well as their failure(s) to

      fully investigate and to publish accurate facts regarding him and to not libel and/or

      defame him were by its nature certain or substantially certain to cause severe emotional

      distress to Franchini.

69.   By virtue of the said conduct, Franchini has suffered severe emotional distress.

70.   The said emotional distress was so severe that no reasonable individual could be expected

      to endure it.

71.   By virtue of the foregoing infliction of emotional distress, Franchini has been damaged.



      WHEREFORE, by reason of the foregoing, Plaintiff Thomas Franchini prays for

judgment on the Complaint and against Defendants, and each of them, for his compensatory

damages as are reasonable in the premises, for punitive damages against Defendants Gannett

Company, Inc. and Slack, for his reasonable attorney’s fees and costs, and for such other and

further and additional relief as the Court deems just and appropriate.

      PLAINTIFF DEMANDS A JURY TRIAL.


      DATED at Lewiston, Maine this 11th day of January, 2018.


                                             /s/David Van Dyke, Esq.
                                             Lynch & Van Dyke
                                             261 Ash Street - P.O. Box 116
                                             Lewiston, Maine 04243-0116
                                             Tel. 207-786-6641
                                             dvandyke@hlrvd.com
                                             Attorney for Plaintiff Thomas Franchini




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                                   Verification

       The foregoing allegations are all true to the best of my knowledge and belief.


                                           ____________/s/______________________
                                           Thomas Franchini



STATE OF RHODE ISLAND
KENT, SS.                                                       January __, 2018

        Personally appeared the above-named Thomas Franchini, to me personally known,
and made oath that the allegations in the foregoing Verified Complaint are true and correct
to the best of his knowledge and belief.

                                           Before me,


                                           ____________/s/_____________________
                                           Notary Public
                                           My Commission Expires:




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